Plaintiff sued on the note of defendant, a Michigan corporation, due October 22, 1928, and had judgment which defendant reviews on error.
Act No. 335, Pub. Acts 1927, pt. 2, chap. 1, § 1, provided that "no corporation shall interpose the defense of usury to any cause of action hereafter arising."
The cause of action arose when the note became due. The act was then in effect. Defendant sought *Page 503 
to interpose the sole defense of usury. This the act forbids.Miller v. Reid, 243 Mich. 694. Judgment affirmed.
NORTH, C.J., and FEAD, BUTZEL, WIEST, McDONALD, POTTER, and SHARPE, JJ., concurred.